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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

    In re:                                         ) Chapter 11
                                                   )
    APEX LINEN SERVICE LLC, et al.,1               ) Case No. 20-11774 (LSS)
                                                   )
                 Debtors.                          ) (Jointly Administered)

    NOTICE OF SECOND AMENDED2AGENDA FOR CONTINUATION OF FIRST DAY
          HEARING SCHEDULED FOR JULY 22, 2020 AT 11:00 A.M. (EDT)

       THIS HEARING WILL BE HELD TELEPHONICALLY AND BY VIDEO. ALL
         PARTIES WISHING TO APPEAR MUST DO SO TELEPHONICALLY BY
      CONTACTING COURTCALL, LLC AT 866-582-6878 NO LATER THAN JULY 22,
      2020 AT 8:30 A.M. (ET) TO SIGN UP. ADDITIONALLY, ANYONE WISHING TO
       APPEAR BY ZOOM IS INVITED TO USE THE LINK BELOW. ALL PARTIES
       THAT WILL BE ARGUING OR TESTIFYING MUST APPEAR BY ZOOM AND
       COURTCALL. PARTICIPANTS ON COURTCALL SHOULD DIAL INTO THE
         CALL NOT LATER THAN 10 MINUTES PRIOR TO THE START OF THE
             SCHEDULED HEARING TO INSURE A PROPER CONNECTION

    PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL BE
        MUTED AND THE ONLY AUDIO WILL BE THROUGH COURTCALL.

    Topic: Apex Linen Service LLC 20-11774 (LSS)
    Time: Jul 22, 2020 11:00 AM Eastern Time (US and Canada)

    Join ZoomGov Meeting
    https://debuscourts.zoomgov.com/j/1607005201
    Meeting ID: 160 700 5201
    Password: 276602

    Join by SIP
    1607005201@sip.zoomgov.com


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable are: Apex Linen Service LLC (9075), Highland Apex
Holdings LLC (0537), Highland Avenue Capital Partners LLC (2825), Highland Apex GP LLC
(9246), and Highland Apex Management LLC (5476). The location of the Debtors’ corporate
headquarters, and the business address for Apex Linen Service LLC is 6375 S. Arville Street, Las
Vegas, NV 89118. The business address for all other Debtors is 205 Pier Avenue, Suite 102,
Hermosa Beach, CA 90254.
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    Amended agenda items appear in bold and italics.
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MATTERS GOING FORWARD:

1.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to Pay
        Certain Prepetition Claims of Critical Vendors and (II) Granting Related Relief [Docket
        No. 11; Filed 7/8/2020]

Related Documents:
     A. Declaration of Christopher Bryan in Support of Debtors' First Day Motions [Docket No.
        25; Filed 7/9/2020]

     B. Certification of Counsel with respect to Interim Order (I) Authorizing Debtors to Pay
        Certain Prepetition Claims of Critical Vendors; (II) Scheduling Further Interim Hearing;
        and (III) Granting Related Relief [Docket No. 57; Filed 7/16/2020]

     C. Interim Order (I) Authorizing Debtors to Pay Certain Prepetition Claims of Critical
        Vendors; (II) Scheduling Further Interim Hearing; and (III) Granting Related Relief
        [Docket No. 71; Entered 7/20/2020]

     D. Breakwater Management LP’s Opposition to Debtors’: (1) Emergency Motion Authorizing
        Debtors to Obtain Postpetition Financing, (2) Second Supplement to Emergency Motion
        Authorizing Use of Cash Collateral, and (3) Motion to Pay Critical Trade Vendor Claims
        [Docket No. 80; Filed 7/21/2020]

     E. Debtors’ Reply to Breakwater Management LP’s Opposition to Debtors’: (1) Emergency
        Motion Authorizing Debtors to Obtain Postpetition Financing, (2) Second Supplement
        to Emergency Motion Authorizing Use of Cash Collateral, and (3) Motion to Pay Critical
        Trade Vendor Claims [Docket No. 85; Filed 7/22/2020]


Status:    This matter is going forward with respect to further interim relief.
2.      Emergency Motion Pursuant to Sections 361 and 363 of the Bankruptcy Code and
        Bankruptcy Rule 4001 for Interim and Final Orders: (1) Authorizing Use of Cash
        Collateral; (2) Scheduling Further Interim Hearing; and (3) for Related Relief [Docket No.
        18; Filed 7/9/2020]

Objection Deadline to Interim Relief Requested: July 21, 2020 at 3:00 p.m. EDT
Related Documents:
     A. Declaration of Christopher Bryan in Support of Debtors' First Day Motions [Docket No.
        25; Filed 7/9/2020]




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     B. Stipulated Interim Order Authorizing Use of Cash Collateral and Scheduling Further
        Interim Hearing [Docket No. 30; Entered 7/10/2020]

     C. Supplement to Emergency Motion Pursuant to Sections 361 and 363 of the Bankruptcy
        Code and Bankruptcy Rule 4001 for Interim and Final Orders: (1) Authorizing Use of Cash
        Collateral; (2) Scheduling Further Interim Hearing; and (3) for Related Relief [Docket No.
        36; Filed 7/14/2020]

     D. Debtors’ Witness List and List of Exhibits for Hearing on Cash Collateral Motions [Docket
        No. 41; Filed 7/14/2020]

     E. Second Interim Order (A) Authorizing Interim Use of Cash Collateral; (B) Granting
        Adequate Protection for Use of Prepetition Collateral; and (C) Scheduling Further Hearing
        [Docket No. 68; Entered 7/17/2020]

     F. Second Supplement to Emergency Motion Pursuant to Sections 361 and 363 of the
        Bankruptcy Code and Bankruptcy Rule 4001 for Interim and Final Orders: (1) Authorizing
        Use of Cash Collateral; (2) Scheduling Further Interim Hearing; and (3) for Related Relief
        [Docket No. 74; Filed 7/20/2020]

     G. Notice of Filing of Exhibit A and Revised Exhibit B to Debtors’ Emergency Motion for
        Interim and Final Orders: (I) Authorizing the Debtors to Obtain Postpetition Financing; (II)
        Scheduling a Final Hearing; (III) Approving Notice Procedures; and (IV) Granting Further
        Relief [Docket No. 77; Filed 7/20/2020]

     H. Breakwater Management LP’s Opposition to Debtors’: (1) Emergency Motion Authorizing
        Debtors to Obtain Postpetition Financing, (2) Second Supplement to Emergency Motion
        Authorizing Use of Cash Collateral, and (3) Motion to Pay Critical Trade Vendor Claims
        [Docket No. 80; Filed 7/21/2020]

     I. Debtors’ Reply to Breakwater Management LP’s Opposition to Debtors’: (1) Emergency
        Motion Authorizing Debtors to Obtain Postpetition Financing, (2) Second Supplement
        to Emergency Motion Authorizing Use of Cash Collateral, and (3) Motion to Pay Critical
        Trade Vendor Claims [Docket No. 85; Filed 7/22/2020]
Status:    This matter is going forward.
3.      Debtors’ Emergency Motion for Interim and Final Orders: (I) Authorizing the Debtors to
        Obtain Postpetition Financing; (II) Scheduling a Final Hearing; (III) Approving Notice
        Procedures; and (IV) Granting Further Relief [Docket No. 75; Filed 7/20/2020]

Objection Deadline to Interim Relief Requested: July 21, 2020 at 3:00 p.m. EDT


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Related Documents:
   A. Declaration of Christopher Bryan in Support of Debtors' First Day Motions [Docket No.
      25; Filed 7/9/2020]

   B. Notice of Filing of Revised Exhibit 1 to Proposed Third Interim Order (A) Authorizing
      Interim Use of Cash Collateral, (B) Granting Adequate Protection for Use of Prepetition
      Collateral, and (C) Scheduling Final Hearing [Docket No. 78; Filed 7/20/2020]

   C. Breakwater Management LP’s Opposition to Debtors’: (1) Emergency Motion Authorizing
      Debtors to Obtain Postpetition Financing, (2) Second Supplement to Emergency Motion
      Authorizing Use of Cash Collateral, and (3) Motion to Pay Critical Trade Vendor Claims
      [Docket No. 80; Filed 7/21/2020]

   D. Debtors’ Reply to Breakwater Management LP’s Opposition to Debtors’: (1) Emergency
      Motion Authorizing Debtors to Obtain Postpetition Financing, (2) Second Supplement
      to Emergency Motion Authorizing Use of Cash Collateral, and (3) Motion to Pay Critical
      Trade Vendor Claims [Docket No. 85; Filed 7/22/2020]
Status:   This matter is going forward.
                                             Respectfully submitted,

Dated: July 22, 2020                         GOLDSTEIN & MCCLINTOCK, LLLP

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                                             Proposed attorneys for the Debtors and
                                             Debtors-in-Possession
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